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                                                                         12/8/22, 3:31 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Chris stopped by haha on his way into town

                                                                         12/8/22, 5:36 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Do you want me to accept all 5000 or just 2500

                                                                         12/8/22, 5:41 PM
7192072148

What are we getting?

                                                                         12/8/22, 5:41 PM
7192072148

Do 2500

                                                                         12/8/22, 5:41 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Ok

                                                                         12/8/22, 5:46 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Kaylins weight sheets say the big mama bags are 6.1 oz

                                                                         12/8/22, 8:53 PM
7192072148

You awake

                                                                         12/8/22, 8:53 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Yes ma’am

                                                        12/8/22, 8:53 PM (Viewed 12/8/22, 8:54 PM)
7192072148

Dude those few alibaba charges from way back when are gonna be the death of me if they
ever find them for Tays boutique

                                                                         12/8/22, 8:54 PM
7192072148

It’s like $6,000 I hand to god didn’t mean to have them pay for

                                                                         12/8/22, 8:54 PM
7192072148

I wanna delete the account so bad

                                                                         12/8/22, 8:54 PM
7192072148

I’m scared

                                                                         12/8/22, 8:54 PM
7192072148

Lol

                                                                         12/8/22, 8:55 PM
                                                                  Ryan Thompson (+1719207     )

                                                                  Well, we could lol

                                                                         12/8/22, 8:55 PM
7192072148

Do we have all the contacts we need?




                                                                               6319
                                                                                                                           HK_039636
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